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                           UNITED STATES BANKRUPTCY COURT
                          WESTERN DISTRICT OF NORTH CAROLINA
                                 CHARLOTTE DIVISION



                                       :
 In re                                 :                              Chapter 11
                                       :
 KAISER GYPSUM COMPANY, INC., et al.,1 :                              Case No. 16-31602 (JCW)
                                       :
           Debtors.                    :                              (Jointly Administered)
                                       :


                           NOTICE OF PROPOSED AGENDA OF
                         MATTERS SCHEDULED FOR HEARING ON
                        WEDNESDAY, SEPTEMBER 4, 2019, AT 9:30 A.M.

                            CONTESTED MATTERS GOING FORWARD

    1. Truck Insurance Exchange’s Motion for an Order (I) Approving the Disclosure
       Statement, (II) Scheduling a Confirmation Hearing, and (III) Establishing Notice
       and Objection Procedures for Confirmation of Truck Insurance Exchange’s
       Chapter 11 Plan [Docket No. 892].

             a. Related Pleadings:

                       i. First Amended Chapter 11 Plan of Reorganization for Kaiser Gypsum
                          Company, Inc. and Hanson Permanente Cement, Inc., Proposed by Truck
                          Insurance Exchange [Docket No. 1203]

                      ii. First Amended Disclosure Statement for First Amended Chapter 11 Plan
                          of Reorganization for Kaiser Gypsum Company, Inc. and Hanson
                          Permanente Cement, Inc., Proposed by Truck Insurance Exchange
                          [Docket No. 1204]

                     iii. Truck Insurance Exchange’s Supplemental Motion for an Order (I)
                          Approving the Disclosure Statement, (II) Establishing Voting, Solicitation,
                          and Tabulation Procedures, (III) Scheduling a Confirmation Hearing, and
                          (IV) Establishing Notice and Objection Procedures for Confirmation of



1       The Debtors are the following entities (the last four digits of their respective taxpayer identification
numbers follow in parentheses): Kaiser Gypsum Company, Inc. (0188) and Hanson Permanente Cement, Inc.
(7313). The Debtors' address is 300 E. John Carpenter Freeway, Irving, Texas 75062.

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                    Truck Insurance Exchange’s Chapter 11 Plan for Kaiser Gypsum
                    Company, Inc. and Hanson Permanente Cement, Inc. [Docket No. 1205]

                iv. Notice of Filing of Amended Plan and Amended Disclosure Statement and
                    Notice of Hearing [Docket No. 1206]

                v. Objection to Motion of Truck Insurance Exchange for an Order Approving
                   the Proposed Disclosure Statement [Docket No. 1238]

                vi. Objection of the Oregon Department of Environmental Quality to Truck’s
                    First Amended Disclosure Statement [Docket No. 1240]

            vii. First State Companies’ Objection to the Disclosure Statement Motions
                 [Docket No. 1241]

            viii. Scheduling Order Regarding Motions to Approve Solicitation Procedures
                  and Disclosure Statements with Respect to Truck Plan and Joint Plan
                  [Docket No. 1265]

                ix. Second Amended Chapter 11 Plan of Reorganization for Kaiser Gypsum
                    Company, Inc., and Hanson Permanente Cement, Inc., Proposed by Truck
                    Insurance Exchange [Docket No. 1268]

                x. Second Amended Disclosure Statement for Second Amended Chapter 11
                   Plan of Reorganization for Kaiser Gypsum Company, Inc., and Hanson
                   Permanente Cement, Inc., Proposed by Truck Insurance Exchange
                   [Docket No. 1269]

                xi. Notice of Filing Revised Proposed Order Approving Disclosure Statement
                    Motion and Related Exhibits [Docket No. 1270]

            xii. Notice of Filing Second Revised Plan Supplement Documents [Docket No.
                 1272]

            xiii. Withdrawal of Objection to Motion of Truck Insurance Exchange for an
                  Order Approving the Proposed Disclosure Statement [Docket No. 1291]

            xiv. Joinder of the Insurance Company of the State of Pennsylvania, Granite
                 State Insurance Company, and Lexington Insurance Company in First
                 State Companies’ Objection to the Disclosure Statement Motions [Docket
                 No. 1292]




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            xv. Supplemental Objection of the Oregon Department of Environmental
                Quality to Second Amended Disclosure Statement for Second Amended
                Chapter 11 Plan of Reorganization for Kaiser Gypsum Company, Inc.,
                and Hanson Permanente Cement, Inc., Proposed by Truck Insurance
                Exchange [Docket No. 1295]

            xvi. The First State Companies’ (A) Objection to the Debtors’ Disclosure
                 Statement Motion and (B) Reservation of Rights with Respect to the Truck
                 Plan [Docket No. 1298]

           xvii. Objection of the Future Claimants’ Representative to the Proposed
                 Disclosure Statement for Chapter 11 Plan of Reorganization Proposed by
                 Truck Insurance Exchange [Docket No. 1300]

           xviii. Debtor’s Objection to Truck Insurance Exchange’s Supplemental Motion
                  for an Order (I) Approving the Disclosure Statement, (II) Establishing
                  Voting, Solicitation, and Tabulation Procedures, (III) Scheduling a
                  Confirmation Hearing and (IV) Establishing Notice and Objection
                  Procedures for Confirmation of Truck Insurance Exchange’s Chapter 11
                  Plan for Kaiser Gypsum Company, Inc., and Hanson Permanente Cement,
                  Inc. [Docket No. 1301]

            xix. Objection of the Official Committee of Asbestos Personal Injury
                 Claimants to Truck Insurance Exchange’s Second Amended Disclosure
                 Statement [Docket No. 1303]

            xx. Consent Order Extending Deadline for Unsecured Creditors Committee to
                File Objection to Disclosure Statement [Docket No. 1307]

            xxi. Joinder by Allstate Insurance Company to First State Companies’ (A)
                 Objection to the Debtors’ Disclosure Statement Motion and (B)
                 Reservation of Rights with Respect to the Truck Plan [Docket No. 1309]

           xxii. Partial Joinder of the Committee of Unsecured Creditors in the Debtors’
                 Objection to Truck Insurance Exchange’s Supplemental Motion for an
                 Order (I) Approving the Disclosure Statement, (II) Establishing Voting,
                 Solicitation, and Tabulation Procedures, (III) Scheduling a Confirmation
                 Hearing and (IV) Establishing Notice and Objection Procedures for
                 Confirmation of Truck Insurance Exchange’s Chapter 11 Plan for Kaiser
                 Gypsum Company, Inc., and Hanson Permanente Cement, Inc. [Docket
                 No. 1310]

           xxiii. Third Amended Chapter 11 Plan of Reorganization for Kaiser Gypsum
                  Company, Inc. and Hanson Permanente Cement, Inc., Proposed by Truck
                  Insurance Exchange [Docket No. 1342]


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           xxiv. Third Amended Disclosure Statement for Third Amended Chapter 11 Plan
                 of Reorganization for Kaiser Gypsum Company, Inc. and Hanson
                 Permanente Cement, Inc., Proposed by Truck Insurance Exchange
                 [Docket No. 1343]

           xxv. Notice of Filing of Redlines for (A) Third Amended Chapter 11 Plan of
                Reorganization for Kaiser Gypsum Company, Inc. and Hanson
                Permanente Cement, Inc., Proposed by Truck Insurance Exchange and (B)
                Disclosure Statement for Third Amended Chapter 11 Plan [Docket No.
                1344]

           xxvi. Notice of Filing Revised Proposed Order Approving Disclosure Statement
                 Motion and Related Exhibits [Docket No. 1345]

          xxvii. Notice of Filing Third Revised Plan Supplement Documents [Docket No.
                 1347]

          xxviii. Scheduling Order Regarding Motions to Approve Solicitation Procedures
                  and Disclosure Statements With Respect to Truck Plan and Joint Plan
                  [Docket No. 1351]

           xxix. The First State Companies’ (A) Objection to the Debtors’ Disclosure
                 Statement Motion and (B) Reservation of Rights with Respect to the Truck
                 Plan [Docket No. 1366]

           xxx. Amended Objection of the Future Claimants’ Representative to the
                Proposed Disclosure Statement for Chapter 11 Plan of Reorganization
                Proposed by Truck Insurance Exchange [Docket No. 1369]

           xxxi. Debtors’ Supplemental Objection to Truck Insurance Exchange’s
                 Supplemental Motion for Approval of its Disclosure Statement and
                 Related Relief [Docket No. 1370]

          xxxii. Objection of the Official Committee of Asbestos Personal Injury
                 Claimants to Truck Insurance Exchange’s Third Amended Disclosure
                 Statement [Docket No. 1371]

          xxxiii. Joinder by Allstate Insurance Company to First State Companies’ (A)
                  Objection to the Debtors’ Disclosure Statement Motion and (B)
                  Reservation of Rights with Respect to the Truck Plan [Docket No. 1382]

          xxxiv. Fourth Amended Chapter 11 Plan of Reorganization for Kaiser Gypsum
                 Company, Inc. and Hanson Permanente Cement, Inc., Proposed by Truck
                 Insurance Exchange [Docket No. 1413]




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          xxxv. Fourth Amended Disclosure Statement for Fourth Amended Chapter 11
                Plan of Reorganization for Kaiser Gypsum Company, Inc. and Hanson
                Permanente Cement, Inc., Proposed by Truck Insurance Exchange
                [Docket No. 1414]

          xxxvi. Notice of Filing of Redlines for (A) Fourth Amended Chapter 11 Plan of
                 Reorganization for Kaiser Gypsum Company, Inc. and Hanson
                 Permanente Cement, Inc., Proposed by Truck Insurance Exchange and (B)
                 Disclosure Statement for Fourth Amended Chapter 11 Plan [Docket No.
                 1415]

         xxxvii. Notice of Filing Fourth Revised Plan Supplement Documents [Docket No.
                 1416]

         xxxviii. Third Scheduling Order Regarding Motions to Approve Solicitation
                  Procedures and Disclosure Statements With Respect to Truck Plan and
                  Joint Plan [Docket No. 1419]

          xxxix. Fourth Scheduling Order Regarding Motions to Approve Solicitation
                 Procedures and Disclosure Statements With Respect to Truck Plan and
                 Joint Plan [Docket No. 1526]

                xl. Fifth Scheduling Order Regarding Motions to Approve Solicitation
                    Procedures and Disclosure Statements With Respect to Truck Plan and
                    Joint Plan [Docket No. 1575]

            xli. Sixth Scheduling Order Regarding Motions to Approve Solicitation
                 Procedures and Disclosure Statements With Respect to Truck Plan and
                 Joint Plan [Docket No. 1619]

            xlii. Fifth Amended Chapter 11 Plan of Reorganization for Kaiser Gypsum
                  Company, Inc. and Hanson Permanente Cement, Inc. Proposed by Truck
                  Insurance Exchange [Docket No. 1665]

           xliii. Fifth Amended Disclosure Statement for Fifth Amended Chapter 11 Plan
                  of Reorganization for Kaiser Gypsum Company, Inc. and Hanson
                  Permanente Cement, Inc. Proposed by Truck Insurance Exchange [Docket
                  No. 1666]

           xliv. Notice of Filing of Redlines for (A) Fifth Amended Chapter 11 Plan of
                 Reorganization for Kaiser Gypsum Company, Inc. and Hanson
                 Permanente Cement, Inc. Proposed by Truck Insurance Exchange and (B)
                 Fifth Amended Disclosure Statement for Fifth Amended Chapter 11 Plan
                 [Docket No. 1667]



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              xlv. Second Amended Objection of the Future Claimants’ Representative to the
                   Proposed Disclosure Statement for Chapter 11 Plan of Reorganization
                   Proposed by Truck Insurance Exchange [Docket No. 1679]

             xlvi. Certain Insurers’ Omnibus Objection to Disclosure Statements [Docket
                   No. 1680]

            xlvii. Supplemental Objection of the Official Committee of Asbestos Personal
                   Injury Claimants to Tuck Insurance Exchange’s Disclosure Statement
                   [Docket No. 1681]

            xlviii. Debtors’ Second Supplemental Objection to (I) Truck’s Solicitation
                    Procedures Motion, (II) the Adequacy of the Disclosures in Truck’s Fifth
                    Amended Disclosure Statement and (III) Truck’s Fifth Amended Plan
                    [Docket No. 1684]

             xlix. Omnibus Reply of Truck Insurance Exchange to Objections to Disclosure
                   Statement Approval Motion [Docket No. 1706].

        b. Objection Deadline: June 6, 2019

        c. Status: This matter is set for disposition by the Court.

  2. Motion of Debtors for an Order (I) Approving Their Disclosure Statement, (II)
     Establishing Procedures for Solicitation and Tabulation of Votes to Accept or Reject
     Proposed Joint Plan of Reorganization and (III) Scheduling a Hearing on
     Confirmation of Proposed Joint Plan of Reorganization and Approving Related
     Notice Procedures [Docket No. 1153]

        a. Related Pleadings:

                 i. Joint Plan of Reorganization of Kaiser Gypsum Company, Inc. and
                    Hanson Permanente Cement, Inc. [Docket No. 1085]

                ii. Disclosure Statement for Joint Plan of Reorganization of Kaiser Gypsum
                    Company, Inc. and Hanson Permanente Cement, Inc. [Docket No. 1152]

                iii. Objection to Motion of Debtors for an Order Approving the Proposed
                     Disclosure Statement [Docket No. 1237]

                iv. Objection of the Oregon Department of Environmental Quality to
                    Debtors’ Disclosure Statement [Docket No. 1239]

                v. First State Companies’ Objection to the Disclosure Statement Motions
                   [Docket No. 1241]

                vi. Notice of Filing of Exhibits to Disclosure Statement for Joint Plan of
                    Reorganization [Docket No. 1256]

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            vii. Supplement to Debtors’ Solicitation Procedures Motion [Docket No.
                 1267]

            viii. First Amended Joint Plan of Reorganization of Kaiser Gypsum Company,
                  Inc., and Hanson Permanente Cement, Inc. [Docket No. 1271]

                ix. Disclosure Statement for First Amended Joint Plan of Reorganization of
                    Kaiser Gypsum Company, Inc., and Hanson Permanente Cement, Inc.
                    [Docket No. 1273]

                x. Notice of Filing of Redlines for (A) First Amended Joint Chapter 11 Plan
                   of Reorganization of Kaiser Gypsum Company, Inc., and Hanson
                   Permanente Cement, Inc., and (B) Disclosure Statement for First
                   Amended Joint Plan [Docket No. 1275]

                xi. Supplement to the Objection to Motion of Debtors for an Order Approving
                    the Proposed Disclosure Statement [Docket No. 1290]

            xii. Joinder of the Insurance Company of the State of Pennsylvania, Granite
                 State Insurance Company, and Lexington Insurance Company in First
                 State Companies’ Objection to the Disclosure Statement Motions [Docket
                 No. 1292]

            xiii. Objection of the Official Committee of Unsecured Creditors to Motion of
                  Debtors for an Order (I) Approving Their Disclosure Statement, (II)
                  Establishing Procedures for Solicitation and Tabulation of Votes to
                  Accept or Reject Proposed Joint Plan of Reorganization and (III)
                  Scheduling a Hearing on Confirmation of Proposed Joint Plan of
                  Reorganization and Approving Related Notice Procedures [Docket No.
                  1293]

            xiv. Supplemental Objection of the Oregon Department of Environmental
                 Quality to Debtor’s First Amended Disclosure Statement [Docket No.
                 1294]

            xv. The First State Companies’ (A) Objection to the Debtors’ Disclosure
                Statement Motion and (B) Reservation of Rights with Respect to the Truck
                Plan [Docket No. 1298]

            xvi. United States’ Objection to Debtors’ Motion for an Order (I) Approving
                 Their Disclosure Statement, (II) Establishing Procedures for Solicitation
                 and Tabulation of Votes to Accept or Reject Proposed Joint Plan of
                 Reorganization and (III) Scheduling a Hearing on Confirmation of
                 Proposed Joint Plan of Reorganization and Approving Related Notice
                 Procedures [Docket No. 1299]

           xvii. Objection of Truck Insurance Exchange to Motion for Approval of
                 Debtors’ Disclosure Statement [Docket No. 1302]

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           xviii. Consent Order Extending Deadline for Unsecured Creditors Committee to
                  File Objection to Disclosure Statement [Docket No. 1307]

            xix. Joinder by Allstate Insurance Company to First State Companies’ (A)
                 Objection to the Debtors’ Disclosure Statement Motion and (B)
                 Reservation of Rights with Respect to the Truck Plan [Docket No. 1309]

            xx. Limited Joinder of TIG Insurance Company (Formerly Known as
                Transamerica Insurance Company and as Successor by Merger to
                International Insurance Company), and Evanston Insurance Company, as
                Successor by Merger to Associated International Insurance Company to
                United States’ Objection to Debtors’ Motion for an Order (I) Approving
                Their Disclosure Statement, (II) Establishing Procedures for Solicitation
                and Tabulation of Votes to Accept or Reject Proposed Joint Plan of
                Reorganization and (III) Scheduling a Hearing on Confirmation of
                Proposed Joint Plan of Reorganization and Approving Related Notice
                Procedures [Docket No. 1311]

            xxi. Notice of Filing of Amended Trust Agreement and Trust Distribution
                 Procedures and Redlines for Same [Docket No. 1346]

           xxii. Second Amended Joint Plan of Reorganization of Kaiser Gypsum
                 Company, Inc. and Hanson Permanente Cement, Inc. [Docket No. 1348]

           xxiii. Disclosure Statement for Second Amended Joint Plan of Reorganization of
                  Kaiser Gypsum Company, Inc. and Hanson Permanente Cement, Inc.
                  [Docket No. 1349]

           xxiv. Notice of Filing of Redlines for (A) Second Amended Joint Plan of
                 Reorganization of Kaiser Gypsum Company, Inc. and Hanson Permanente
                 Cement, Inc. and (B) Disclosure Statement for Second Amended Joint
                 Plan [Docket No. 1350]

           xxv. Scheduling Order Regarding Motions to Approve Solicitation Procedures
                and Disclosure Statements With Respect to Truck Plan and Joint Plan
                [Docket No. 1351]

           xxvi. United States’ Supplemental Objection to Debtors’ Motion for an Order
                 (I) Approving Their Disclosure Statement, (II) Establishing Procedures
                 for Solicitation and Tabulation of Votes to Accept or Reject Proposed
                 Joint Plan of Reorganization and (III) Scheduling a Hearing on
                 Confirmation of Proposed Joint Plan of Reorganization and Approving
                 Related Notice Procedures [Docket No. 1364]

          xxvii. The First State Companies’ (A) Objection to the Debtors’ Disclosure
                 Statement Motion and (B) Reservation of Rights with Respect to the Truck
                 Plan [Docket No. 1366]


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          xxviii. Supplemental Objection of Truck Insurance Exchange to Motion for
                  Approval of Debtors’ Disclosure Statement [Docket No. 1367]

           xxix. Supplemental Objection of the Official Committee of Unsecured Creditors
                 to the Motion of Debtors for an Order (I) Approving Their Disclosure
                 Statement, (II) Establishing Procedures for Solicitation and Tabulation of
                 Votes to Accept or Reject Proposed Joint Plan of Reorganization and (III)
                 Scheduling a Hearing on Confirmation of Proposed Joint Plan of
                 Reorganization and Approving Related Notice Procedures [Docket No.
                 1373]

                 l. Joinder by Allstate Insurance Company to First State Companies’ (A)
                    Objection to the Debtors’ Disclosure Statement Motion and (B)
                    Reservation of Rights with Respect to the Truck Plan [Docket No. 1382]

                li. Third Scheduling Order Regarding Motions to Approve Solicitation
                    Procedures and Disclosure Statements With Respect to Truck Plan and
                    Joint Plan [Docket No. 1419]

                lii. Fourth Scheduling Order Regarding Motions to Approve Solicitation
                     Procedures and Disclosure Statements With Respect to Truck Plan and
                     Joint Plan [Docket No. 1526]

            liii. Fifth Scheduling Order Regarding Motions to Approve Solicitation
                  Procedures and Disclosure Statements With Respect to Truck Plan and
                  Joint Plan [Docket No. 1575]

            liv. Sixth Scheduling Order Regarding Motions to Approve Solicitation
                 Procedures and Disclosure Statements With Respect to Truck Plan and
                 Joint Plan [Docket No. 1619]

                lv. Third Amended Joint Plan of Reorganization of Kaiser Gypsum Company,
                    Inc. and Hanson Permanente Cement, Inc. [Docket No. 1668]

            lvi. Disclosure Statement for Third Amended Joint Plan of Reorganization of
                 Kaiser Gypsum Company, Inc. and Hanson Permanente Cement, Inc.
                 [Docket No. 1669]

            lvii. Notice of Filing of (A) Redline of Third Amended Joint Plan of
                  Reorganization of Kaiser Gypsum Company, Inc. and Hanson Permanente
                  Cement, Inc.; (B) Redline of Disclosure Statement for Third Amended
                  Joint Plan of Reorganization of Kaiser Gypsum Company, Inc. and
                  Hanson Permanente Cement, Inc.; (C) Amended Exhibits to Debtors’
                  Motion for Approval of Disclosure Statement and Solicitation Procedures;
                  and (D) Redline of Amended Exhibits to Debtors’ Motion for Approval of
                  Disclosure Statement and Solicitation Procedures [Docket No. 1670]



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            lviii. The First State Companies’ Supplemental Memorandum in Objection to
                   the Debtors’ Disclosure Statement [Docket No. 1678]

              lix. Certain Insurers’ Omnibus Objection to Disclosure Statements [Docket
                   No. 1680]

                lx. Second Supplemental Objection of Truck Insurance Exchange to Motion
                    for Approval of Debtors’ Disclosure Statement Docket No. 1682]

              lxi. Reply and Joinder of the Future Claimant’s Representative in Support of
                   the Debtors’ Proposed Disclosure Statement for Third Amended Joint
                   Plan of Reorganization for Kaiser Gypsum Company, Inc. and Hanson
                   Permanente Cement, Inc. and in Response to Certain Objections [Docket
                   No. 1703]

             lxii. Debtors’ Reply in Support of Their Motion for an Order Approving Their
                   Joint Disclosure Statement [Docket No. 1708]

            lxiii. Notice of Filing of Declaration of Cameron R. Azari, Esq. in Support of
                   Debtors’ Motion for Order Approving Disclosure Statement and
                   Solicitation Procedures [Docket No. 1709]

             lxiv. The Official Committee of Asbestos Personal Injury Claimants’ Omnibus
                   Reply in Response to Objections to the Disclosure Statement for Third
                   Amended Joint Plan of Reorganization of Kaiser Gypsum Company, Inc.
                   and Hanson Permanente Cement, Inc. [Docket No. 1710].

             lxv. Notice of Filing Amended Publication Notice for Proposed Confirmation
                  Notice Plan Designed by Hilsoft Notifications [Docket No. 1713]

        b. Objection Deadline: June 6, 2019

        c. Status: This matter is set for disposition by the Court.




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                     UNCONTESTED MATTER GOING FORWARD

3.     Debtors' Motion for an Order Approving Settlement with the United States [Docket
No. 1719]

       a.     Related Pleadings:

              i.      Notice of Filing of Executed Settlement Agreement With The United States
                      [Docket No. 1735]

              ii.     United States' Joinder in Debtors' Motion to Approve Settlement with the
                      United States [Docket No. 1764]

       b.     Objection Deadline: June 27, 2019

       c.     Status: This matter is going forward.


Requests for telephonic appearances should be directed to hearings@ncwd.net.

This, the 29th day of August, 2019.
                                            RAYBURN COOPER & DURHAM, P.A.

                                            By:       /s/ John R. Miller, Jr.
                                                      John R. Miller, Jr.
                                                      N.C. State Bar No. 28689
                                                      1200 Carillion, 227 West Trade Street
                                                      Charlotte, NC 28202
                                                      (704) 334-0891

                                            Counsel to the Debtors and Debtors in possession




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